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 8
     Interim Lead Counsel for the
 9   Direct Purchaser Plaintiffs
10
                                UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                    SAN FRANCISCO DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)             Master File No. CV- 07-5944-SC
14   ANTITRUST LITIGATION
     ____________________________________      MDL No. 1917
15   This Document Relates to:
                                               DIRECT PURCHASER PLAINTIFFS’
16                                             RESPONSE TO DELL AND SHARP
     ALL DIRECT PURCHASER ACTIONS              ADMINISTRATIVE MOTIONS TO
17                                             CONFIRM OPT-OUT REQUESTS OR, IN
                                               THE ALTERNATIVE, FOR AN ORDER
18                                             ENLARGING TIME TO OPT OUT
19                                             Judge: Honorable Samuel Conti
                                               Courtroom: 1
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     DPPs’ RESPONSE TO DELL AND SHARP ADMINISTRATIVE MOTIONS TO CONFIRM OPT-OUT REQUESTS
     OR, IN THE ALTERNATIVE, FOR AN ORDER ENLARGING TIME TO OPT OUT – Case No. 07-cv-5944 SC
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 1   I.      INTRODUCTION

 2           The Direct Purchaser Class Plaintiffs (“DPPs”) submit this response to (1) Dell Inc.’s and

 3   Dell Products L.P.’s Administrative Motion to Confirm Its Opt Out Request or, in the Alternative,

 4   for an Enlargement of Time to Opt Out (July 22, 2014) (Dkt. No. 2696); and (2) Sharp Electronics

 5   Corporation and Sharp Electronics Manufacturing Company of America, Inc.’s Administrative

 6   Motion to Confirm Its Opt-Out Request or, in the Alternative, Enlargement of Time for Sharp to

 7   Opt Out of Class Settlements (July 23, 2014) (Dkt. No. 2698).

 8           DPPs agree that Dell Inc. and Dell Products L.P. (“Dell”) and Sharp Electronics
 9   Corporation and Sharp Electronics Manufacturing Company of America, Inc. (“Sharp”) have
10   excluded themselves from the settlement classes with Defendants Hitachi, Ltd.; Hitachi Displays,
11   Ltd. (n/k/a Japan Display Inc.); Hitachi America, Ltd.; Hitachi Asia, Ltd.; and Hitachi Electronic
12   Devices (USA) Inc. (collectively, “Hitachi”); and Samsung SDI Co. Ltd. (f/k/a Samsung Display
13   Devices Co., Ltd.); Samsung SDI America, Inc.; Samsung SDI Brasil, Ltd.; Tianjin Samsung SDI
14   Co., Ltd.; Samsung Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn. Bhd.; and SDI Mexico S.A. de
15   C.V. (collectively, “Samsung SDI”) (collectively “Settling Defendants”), even though they
16   submitted their opt-out requests fourteen days after the deadline set by the Court.
17           DPPs write to emphasize three points: (1) Dell and Sharp have acted in good faith; (2)
18   Settling Defendants have not suffered any prejudice as a result of Dell and Sharp’s late submission

19   of their opt-out requests; and (3) DPPs (and Dell and Sharp) will suffer substantial prejudice if

20   Sharp and Dell are included in the settlement classes because their enormous claims will materially

21   dilute the recoveries of other class members.

22           For these reasons, DPPs submit that Dell and Sharp and their related entities should not be

23   included in the Hitachi and Samsung SDI settlement classes. DPPs also respectfully submit that the

24   Court should issue an order confirming that fact now to avoid uncertainty and future motion

25   practice.

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     DPPs’ RESPONSE TO DELL AND SHARP ADMINISTRATIVE MOTIONS TO CONFIRM OPT-OUT REQUESTS
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 1   II.      ARGUMENT

 2            A.     Dell and Sharp Have Acted in Good Faith.

 3            The Court’s preliminary approval order required DPPs to file a notice listing all persons or

 4   entities requesting exclusion from the class fourteen days after the deadline for doing so had

 5   passed. Order Granting Class Certification and Preliminary Approval of Class Action Settlement

 6   with the Samsung SDI Defendants ¶ 11 (Apr. 14, 2014) (Dkt. No. 2534) (“Preliminary Approval

 7   Order”). On June 26, 2014, the date the list was due, DPPs were surprised to note the absence of

 8   opt-out requests from the Sharp and Dell entities. Saveri Decl. ¶ 2. DPPs expected to receive such

 9   requests because Dell and Sharp were actively litigating their own cases against Defendants and

10   had opted out of every other class settlement. Id. DPPs therefore telephoned the lawyers for Dell

11   and Sharp to inquire whether their clients intended to participate in the class settlements. In each

12   case, the lawyers expressed surprise and immediately indicated that their clients did not intend to

13   participate in the settlements. Shortly thereafter, each transmitted written confirmation that their

14   clients wished to be excluded from the settlement classes. Saveri Decl. ¶ 3.

15                   1.      Dell and Sharp Received Notice of the Settlements

16            DPPs do not agree that notice to Dell and/or Sharp was inadequate. The notice was sent to

17   various Dell and Sharp addresses and published in accordance with the Preliminary Approval

18   Order. The notice was also posted on the class website. Saveri Decl. ¶ 4. The opt-out deadline was

19   also stated in the FAQ section of the website. Saveri Decl. ¶ 5 & Ex. 1.

20            DPPs do not take issue, however, with the declarations of Dell’s general counsel or Dell or

21   Sharp’s lawyers stating that they were unaware of the deadline. Decl. of Mary Pape in Supp. of Pls.

22   Dell Inc. and Dell Products L.P.’s Admin. Mot. (July 22, 2014) (Dkt. No. 2696-4); Decl. of Debra

23   D. Bernstein in Supp. of Pls. Dell Inc. and Dell Products L.P.’s Admin. Mot. (July 22, 2014) (Dkt.

24   No. 2696-1); Decl. of Matthew D. Kent in Supp. of Pls. Dell Inc. and Dell Products L.P.’s Admin.

25   Mot. (July 22, 2014) (Dkt. No. 2696-2); Decl. of Melissa Mahurin Whitehead in Supp. of Pls. Dell

26   Inc. and Dell Products L.P.’s Admin. Mot. (July 22, 2014) (Dkt. No. 2696-3); Decl. of Craig A.

27   Benson in Supp. of Sharp’s Motion to Confirm Its Opt-Out Req. or, in the Alternative, Enlarge

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     DPPs’ RESPONSE TO DELL AND SHARP ADMINISTRATIVE MOTIONS TO CONFIRM OPT-OUT REQUESTS
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 1   Time for Sharp to Opt Out of Class Settlements (July 23, 2014) (Dkt. No. 2698-1).

 2          B.      Settling Defendants Have Suffered No Prejudice Resulting from the Late
                    Submission of the Dell and Sharp Exclusion Requests.
 3

 4          As a result of the above described telephone calls, the Dell and Sharp entities were included

 5   on the list of excluded class members that DPPs timely filed on June 26, 2014. Saveri Decl. ¶ 6.

 6   Defendants Hitachi and Samsung SDI were notified of all the opt-outs, including Dell and Sharp,

 7   on the Court ordered deadline. Id. Furthermore, Settling Defendants would have received notice of

 8   the Dell and Sharp exclusions on the same date even if the exclusion requests had been timely

 9   submitted. Id. There is no prejudice to the Settling Defendants.

10          Moreover, in light of their active litigation against Settling Defendants and their previous

11   opt-outs, their instant opt-out requests were a mere formality—no party to this litigation could have

12   reasonably expected Dell and Sharp to dismiss their cases against the Settling Defendants and

13   participate in the class settlements.

14          C.      DPPs, Dell, and Sharp Will Suffer Severe Prejudice if Dell and Sharp Are
15                  Forced to Participate in the Samsung SDI and Hitachi Settlements.

16          While Settling Defendants can demonstrate no prejudice to their interests caused by the

17   delay, prejudice to DPPs, Dell, and Sharp would be severe.

18          First, because damages are directly related to class members’ total purchases of CRTs and

19   Finished Products, this amount was a critical component to the settlement negotiations between

20   DPPs and Settling Defendants. Saveri Decl. ¶ 7.1 Because Dell and Sharp were litigating their own

21   cases and had opted out of all previous class settlements, DPPs did not include their purchases in

22   their settlement analysis. Saveri Decl. ¶ 8. It was clearly understood during settlement negotiations

23   with both Hitachi and Samsung SDI that Dell and Sharp were not in the class. Id. In other words,

24   DPPs did not settle Dell’s or Sharp’s claims. Id. For this reason, if the purchases by Dell and

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27     DPPs also explained this in Direct Purchaser Plaintiffs’ Opposition to Opt-In Plaintiffs’
     (Viewsonic) Motion to Withdraw Requests for Exclusion From the Settlement Classes and to Join
28   the Class Settlements (Mar. 6, 2014) (Dkt. No. 2417).
                                                        3
     DPPs’ RESPONSE TO DELL AND SHARP ADMINISTRATIVE MOTIONS TO CONFIRM OPT-OUT REQUESTS
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 1   Sharp—which are exceed $1.6 billion—are included in the settlement classes, the value of the

 2   claims of the rest of the class will be substantially diluted. Saveri Decl. ¶ 9.

 3          Second, it is also plain that Dell’s and Sharp’s claims against Hitachi and Samsung SDI—

 4   which has pleaded guilty—will be materially prejudiced. And, of course, Settling Defendants will

 5   receive an enormous and undeserved windfall.

 6   III.   CONCLUSION

 7          For the foregoing reasons, DPPs respectfully submit that the Court should GRANT Dell

 8   and Sharp’s motions.

 9   Dated: July 28, 2014.
                                                              Respectfully submitted,
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11                                                            /s/ Guido Saveri
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